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             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                    CENTRAL DIVISION




 UNITED STATES OF AMERICA,
        Plaintiff,                                      MEMORANDUM DECISION AND
                                                        ORDER GRANTING DEFENDANT’S
                                                        MOTION TO TERMINATE
                                                        SUPERVISED RELEASE


                vs.


 MICHAEL ROUSEY,                                        Case No. 2:03-CR-933 TS
        Defendant.




       This matter is before the Court on Defendant’s Motion to Terminate Supervised Release.

The Court held a hearing on the Motion on December 17, 2009. Having considered the file, the

arguments of counsel, the circumstances presented by this case, and being otherwise fully

informed, the Court will grant Defendant’s Motion, as set forth below.

                                       BACKGROUND

       Defendant was originally sentenced on April 5, 2005. Defendant was sentenced to a term

of 36 months in the custody of the BOP and 36 months of supervised release. Defendant began

his term of supervision on January 30, 2008. On January 13, 2009, a Petition and Order was

issued, alleging violations of Defendant’s supervised release. That Petition and Order was

subsequently amended and Defendant admitted to violating the terms of his supervised release on

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February 5, 2009. Those violations involved Defendant having unauthorized contact with

convicted felons, including members of white supremacy groups. After admitting to violating

the terms of his supervised release, Defendant’s supervised release was reinstated.

       Defendant now moves to terminate his supervised release. At the hearing on the Motion,

Defendant’s counsel explained that Defendant has made remarkable strides while on supervised

release. Counsel explained that Defendant has transformed himself since the time of the original

Indictment. For example, Defendant has now been employed at the same company for two years

and has recently been promoted to a supervisor. Defendant has been pre-approved for a

mortgage loan to enable him to purchase his first home and has recently purchased a car.

Counsel also recognized Defendant’s previous violation and the concerns of the Court. The

government did not dispute any of the representations of counsel and had no objection to the

Motion.

                                           DISCUSSION

       18 U.S.C. § 3583(e) permits the Court to terminate supervised release at any time after a

defendant has completed at least one year of supervised release, but prior to completion of the

entire term, if the Court is satisfied that such action is 1) warranted by the conduct of an offender

and 2) is in the interest of justice. In making this determination, the Court is directed to consider

the factors set forth in 18 U.S.C. § 3553(a), to the extent they are applicable.

       Having considered these factors, the Court finds that early termination of Defendant’s

term of supervised release is both warranted by the conduct of the offender and in the interest of

justice. The Court is encouraged by the progress Defendant has made while on supervised

release and finds that early termination is appropriate. Therefore, the Court will terminate his

supervised release at the same time that his supervision by the state expires.

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                                       CONCLUSION

       Based upon the above, it is hereby

       ORDERED that Defendant’s Motion to Terminate Supervised Release (Docket No. 920)

is GRANTED. It is further

       ORDERED that Defendant’s term of supervised release shall be terminated effective

February 28, 2010.

       SO ORDERED.

       DATED this 17th day of December, 2009.

                                            BY THE COURT:


                                            ___________________________________
                                            TED STEWART
                                            United States District Judge




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